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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


 JALINE FENWICK,
 individually and on behalf of all
 others similarly situated,                                     CLASS ACTION

         Plaintiff,                                             JURY TRIAL DEMANDED

 v.

 AVENTURA DANCE CRUISE, LLC,

       Defendant.
 __________________________________/

                                     CLASS ACTION COMPLAINT

         Plaintiff Jaline Fenwick brings this class action against Defendant Aventura Dance Cruise,

 LLC (“Defendant” or “Aventura Dance Cruise”) and alleges as follows upon personal knowledge

 as to herself and her own acts and experiences, and, as to all other matters, upon information and

 belief, including investigation conducted by her attorneys.

                                      NATURE OF THE ACTION

         1.      This is a putative class action under the Telephone Consumer Protection Act, 47 U.S.C.

 § 227 et seq., (“TCPA”), arising from Defendant’s knowing and willful violations of the TCPA.

         2.      Defendant promotes itself as the world’s largest Latin dance cruise.

         3.      Defendant engages in unsolicited telemarketing directed towards prospective customers

 with no regard for consumers’ privacy rights.

         4.      Defendant’s telemarketing consists of sending text messages to consumers

 soliciting consumers to purchase Defendant’s cruises.

         5.      Defendant caused thousands of unsolicited text messages to be sent to the cellular

 telephones of Plaintiff and Class Members, causing them injuries, including invasion of their privacy,

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 aggravation, annoyance, intrusion on seclusion, trespass, and conversion.

         6.       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal conduct.

 Plaintiff also seeks statutory damages on behalf of herself and Class Members, as defined below, and

 any other available legal or equitable remedies resulting from the illegal actions of Defendants.

                                     JURISDICTION AND VENUE

         7.      Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

 statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,

 which will result in at least one Class member belonging to a different state than Defendant. Plaintiff

 seeks up to $1,500.00 in damages for each call in violation of the TCPA, which, when aggregated among

 a proposed class numbering in the tens of thousands, or more, exceeds the $5,000,000.00 threshold for

 federal court jurisdiction under the Class Action Fairness Act (“CAFA”).

         8.      Venue is proper in the United States District Court for the Southern District of Florida

 pursuant to 28 U.S.C. §§ 1391(b) and (c) because Defendant is deemed to reside in any judicial district

 in which it is subject to the court’s personal jurisdiction, and because Defendant provides and markets

 its services within this district thereby establishing sufficient contacts to subject it to personal

 jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred within this district and, on

 information and belief, Defendant has sent the same text message complained of by Plaintiff to other

 individuals within this judicial district, such that some of Defendant’s acts have occurred within this

 district, subjecting Defendant to jurisdiction here.

                                                 PARTIES

         9.      Plaintiff is a natural person who, at all times relevant to this action, was a resident of

 Broward County, Florida.

         10.     Defendant is a Florida limited liability company with its principal address at 2875 NE



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 191st ST, 5th Floor, Aventura, FL 33180. Defendant directs, markets, and provides business activities

 throughout the State of Florida.

                                              THE TCPA

         11.     The TCPA prohibits: (1) any person from calling a cellular telephone number; (2) using

 an automatic telephone dialing system; (3) without the recipient’s prior express consent. 47 U.S.C. §

 227(b)(1)(A).

         12.     The TCPA defines an “automatic telephone dialing system” (“ATDS”) as “equipment

 that has the capacity - (A) to store or produce telephone numbers to be called, using a random or

 sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

         13.     The TCPA exists to prevent communications like the ones described within this

 Complaint. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

         14.     In an action under the TCPA, a plaintiff must show only that the defendant “called a

 number assigned to a cellular telephone service using an automatic dialing system or prerecorded

 voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

 F.3d 1265 (11th Cir. 2014).

         15.     The Federal Communications Commission (“FCC”) is empowered to issue rules and

 regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA

 are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

 nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

 inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

 they pay in advance or after the minutes are used.

         16.     In 2012, the FCC issued an order further restricting automated telemarketing calls,

 requiring “prior express written consent” for such calls to wireless numbers. See In the Matter of Rules



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 & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20 (Feb.

 15, 2012) (emphasis supplied).

         17.     To obtain express written consent for telemarketing calls, a defendant must establish

 that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and conspicuous

 disclosure’ of the consequences of providing the requested consent….and [the plaintiff] having received

 this information, agrees unambiguously to receive such calls at a telephone number the [plaintiff]

 designates.” In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R.

 1830, 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).

         18.     The TCPA regulations promulgated by the FCC define “telemarketing” as “the

 initiation of a telephone call or message for the purpose of encouraging the purchase or rental of, or

 investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a

 communication constitutes telemarketing, a court must evaluate the ultimate purpose of the

 communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

         19.     “Neither the TCPA nor its implementing regulations ‘require an explicit mention of a

 good, product, or service’ where the implication of an improper purpose is ‘clear from the context.’”

 Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).

         20.     “‘Telemarketing’ occurs when the context of a call indicates that it was initiated and

 transmitted to a person for the purpose of promoting property, goods, or services.” Golan, 788 F.3d at

 820 (citing 47 C.F.R. § 64.1200(a)(2)(iii) & 47 C.F.R. § 64.1200(f)(12)); In re Rules and Regulations

 Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003

 WL 21517853, at *49).

         21.     The FCC has explained that calls motivated in part by the intent to sell property, goods,

 or services are considered telemarketing under the TCPA.           See In re Rules and Regulations



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 Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶¶ 139-142 (2003).

 This is true whether call recipients are encouraged to purchase, rent, or invest in property, goods, or

 services during the call or in the future. Id.

           22.    In other words, offers “that are part of an overall marketing campaign to sell

 property, goods, or services constitute” telemarketing under the TCPA. See In re Rules and

 Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶ 136

 (2003).

           23.    If a call is not deemed telemarketing, a defendant must nevertheless demonstrate that it

 obtained the plaintiff’s prior express consent. See In the Matter of Rules and Regulaions Implementing

 the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring express consent

 “for non-telemarketing and non-advertising calls”).

           24.    Further, the FCC has issued rulings and clarified that consumers are entitled to the same

 consent-based protections for text messages as they are for calls to wireless numbers. See Satterfield v.

 Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009) (“The FCC has determined that a text

 message falls within the meaning of ‘to make any call’ in 47 U.S.C. § 227(b)(1)(A)”).

           25.    With respect to standing, as recently held by the United States Court of Appeals for the

 Ninth Circuit:

                  Unsolicited telemarketing phone calls or text messages, by their nature,
                  invade the privacy and disturb the solitude of their recipients. A plaintiff
                  alleging a violation under the TCPA “need not allege any additional
                  harm beyond the one Congress has identified.”

 Van Patten v. Vertical Fitness Grp., LLC, 847 F.3d 1037 (9th Cir. 2017) (quoting Spokeo, Inc. v.

 Robins, 136 S. Ct. 1540 (2016)).

           26.    Similarly, the United States Court of Appeals for the Second Circuit recently held that

 the receipt of a telemarketing or unsolicited call “demonstrates more than a bare violation and satisfies


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 the concrete-injury requirement for standing.” Leyse v. Lifetime Entm't Servs., LLC, Nos. 16-1133-

 cv, 16-1425-cv, 2017 U.S. App. LEXIS 2607 (2d Cir. Feb. 15, 2017) (citing In re Methyl Tertiary

 Butyl Ether (MTBE) Prods. Liab. Litig., 725 F.3d 65, 105 (2d Cir. 2013) ("The injury-in-fact necessary

 for standing need not be large; an identifiable trifle will suffice."); Golan v. Veritas Entm't, LLC, 788

 F.3d 814, 819-21 (8th Cir. 2015) (holding that receipt of two brief unsolicited robocalls as voicemail

 messages was sufficient to establish standing under TCPA); Palm Beach Golf Ctr.-Boca, Inc. v. John

 G. Sarris, D.D.S., P.A., 781 F.3d 1245, 1252 (11th Cir. 2015) (holding that injury under similar TCPA

 provision may be shown by one-minute occupation of fax machine)).

                                                 FACTS

         27.     On or about June 6, 2018 and June 8, 2018, Defendant caused the following six

 automated text messages to be transmitted to Plaintiff’s cellular telephone number ending in 1356

 (“1356 Number”):




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         28.     Defendant’s text messages constitute telemarketing/advertising because they promote

 Defendant’s business, goods and services.

         29.     Specifically, Defendant asks the recipient of the text message to book a cruise to Cuba

 and notifies the recipient that drink packages are available for purchase.

         30.     The hyperlink within the text message leads to the following website (the “Website”)


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 which is owned and/or operated by or on behalf of Defendant:




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                                                                                       1



           31.     The Website includes additional marketing information for Defendant’s business

 including promotional pricing as shown below:




 1
     https://cuba.aventuradancecruise.com/; (last visited July 11, 2018)

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            32.     Plaintiff received the subject text messages within this judicial district and, therefore,

  Defendant’s violation of the TCPA occurred within this district.

            33.     Upon information and belief, Defendant caused similar text messages to be sent to

  individuals residing within this judicial district.

            34.     At no point in time did Plaintiff provide Defendants with her express consent to be

  contacted by text messages using an ATDS.

            35.     Plaintiff is the subscriber and sole user of the 1356 Number.

            36.     The number used by Defendant (313-131) is known as a “short code,” a standard 6-digit


  2
      https://cuba.aventuradancecruise.com/pricing/ (last visited June 25, 2018).

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  code that enables Defendant to send SMS text messages en masse.

            37.     This short code was provided to Defendant by Ez Texting, a company that hosts a text

  messaging platform that permitted Defendant to transmit thousands of automated text messages without

  any human involvement. In fact, on its website, Ez Texting boasts that it has “sent over 4 billion

  messages… and counting” and that its system can “reach thousands of contacts at once with mass

  texting alerts and reminders.”3

            38.     The Ez Texting platform utilized by Defendant has the current capacity or present ability

  to generate or store random or sequential numbers or to dial sequentially or randomly at the time the

  call is made, and to dial such numbers, en masse, in an automated fashion without human intervention.

            39.     Further, the impersonal and generic nature of Defendant’s text message, demonstrates

  that Defendant utilized an ATDS in transmitting the messages. See Jenkins v. LL Atlanta, LLC, No.

  1:14-cv-2791-WSD, 2016 U.S. Dist. LEXIS 30051, at *11 (N.D. Ga. Mar. 9, 2016)(“These

  assertions, combined with the generic, impersonal nature of the text message advertisements and the

  use of a short code, support an inference that the text messages were sent using an ATDS.”) (citing Legg

  v. Voice Media Grp., Inc., 20 F. Supp. 3d 1370, 1354 (S.D. Fla. 2014) (plaintiff alleged facts sufficient

  to infer text messages were sent using ATDS; use of a short code and volume of mass messaging alleged

  would be impractical without use of an ATDS); Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165, 1171

  (N.D. Cal. 2010) (finding it "plausible" that defendants used an ATDS where messages were

  advertisements written in an impersonal manner and sent from short code); Hickey v. Voxernet LLC,

  887 F. Supp. 2d 1125, 1130; Robbins v. Coca-Cola Co., No. 13-CV-132-IEG NLS, 2013 U.S. Dist.

  LEXIS 72725, 2013 WL 2252646, at *3 (S.D. Cal. May 22, 2013) (observing that mass messaging

  would be impracticable without use of an ATDS)).



  3
      See https://www.eztexting.com; (last accessed on July 11, 2018).

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          40.     Specifically, the text messages do not identify the intended recipient by name nor

  provide any identifiable characteristic of the intended recipient. Instead the text message is drafted so

  that it can be sent out en masse without variation.

          41.     Defendant’s unsolicited text message caused Plaintiff actual harm, including invasion

  of his privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion. Defendant’s

  text message also inconvenienced Plaintiff and caused disruption to her daily life.

                                         CLASS ALLEGATIONS

                PROPOSED CLASS

          42.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

  himself and all others similarly situated.

          43.     Plaintiff brings this case on behalf of the below defined Class:

                       All persons within the United States who, within the four
                       years prior to the filing of this Complaint, were sent a text
                       message using the same type of equipment used to text
                       message Plaintiff, from Defendant or anyone on
                       Defendant’s behalf, to said person’s cellular telephone
                       number.

          44.     Defendant and its employees or agents are excluded from the Class. Plaintiff does not

  know the number of members in the Class but believes the Class members number in the several

  thousands, if not more.

             NUMEROSITY

          45.     Upon information and belief, Defendant has placed automated calls to cellular telephone

  numbers belonging to thousands of consumers throughout the United States without their prior express

  consent. The members of the Class, therefore, are believed to be so numerous that joinder of all

  members is impracticable.

          46.     The exact number and identities of the Class members are unknown at this time and can

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  be ascertained only through discovery. Identification of the Class members is a matter capable of

  ministerial determination from Defendants’ call records.

                COMMON QUESTIONS OF LAW AND FACT

          47.      There are numerous questions of law and fact common to the Class which predominate

  over any questions affecting only individual members of the Class. Among the questions of law and

  fact common to the Class are:

                       (1) Whether Defendant made non-emergency calls to Plaintiff and Class members’

                           cellular telephones using an ATDS;

                       (2) Whether Defendant can meet their burden of showing that they obtained prior

                           express written consent to make such calls;

                       (3) Whether Defendant’s conduct was knowing and willful;

                       (4) Whether Defendant is liable for damages, and the amount of such damages; and

                       (5) Whether Defendant should be enjoined from such conduct in the future.

          48.      The common questions in this case are capable of having common answers. If Plaintiff’s

  claim that Defendants routinely transmits text messages to telephone numbers assigned to cellular

  telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

  being efficiently adjudicated and administered in this case.

                TYPICALITY

          49.      Plaintiff’s claims are typical of the claims of the Class members, as they are all based

  on the same factual and legal theories.

                PROTECTING THE INTERESTS OF THE CLASS MEMBERS

          50.      Plaintiff is a representative who will fully and adequately assert and protect the interests

  of the Class and has retained competent counsel. Accordingly, Plaintiff is an adequate representative



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  and will fairly and adequately protect the interests of the Class.

                  SUPERIORITY

            51.     A class action is superior to all other available methods for the fair and efficient

  adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

  economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

  Class are in the millions of dollars, the individual damages incurred by each member of the Class

  resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

  lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

  and, even if every member of the Class could afford individual litigation, the court system would be

  unduly burdened by individual litigation of such cases.

            52.     The prosecution of separate actions by members of the Class would create a risk of

  establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

  one court might enjoin Defendant from performing the challenged acts, whereas another may not.

  Additionally, individual actions may be dispositive of the interests of the Class, although certain class

  members are not parties to such actions.

                                                 COUNT I
                                Violations of the TCPA, 47 U.S.C. § 227(b)
                                  (On Behalf of Plaintiff and the Class)

            53.     Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

  herein.

            54.     It is a violation of the TCPA to make “any call (other than a call made for

  emergency purposes or made with the prior express consent of the called party) using any

  automatic telephone dialing system … to any telephone number assigned to a … cellular telephone

  service ….” 47 U.S.C. § 227(b)(1)(A)(iii).



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           55.   The TCPA defines an “automatic telephone dialing system” (hereinafter “ATDS”)

  as “equipment which has the capacity – (A) to store or produce telephone numbers to be called,

  using a random or sequential number generator; and (B) to dial such numbers.” Id. at § 227(a)(1).

           56.   Defendant – or third parties directed by Defendant – used equipment having the

  capacity to store telephone numbers, using a random or sequential generator, and to dial such

  numbers and/or to dial numbers from a list automatically, without human intervention, to make

  non-emergency telephone calls to the cellular telephones of Plaintiff and the other members of the

  Class.

           57.   These calls were made without regard to whether Defendant had first obtained

  express permission from the called party to make such calls. In fact, Defendant did not have prior

  express consent to call the cell phones of Plaintiff and the other members of the putative Class

  when its calls were made.

           58.   Defendant violated § 227(b)(1)(A)(iii) of the TCPA by using an automatic

  telephone dialing system to make non-emergency telephone calls to the cell phones of Plaintiff

  and the other members of the putative Class without their prior express consent.

           59.   As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA,

  Plaintiff and the other members of the putative Class were harmed and are each entitled to a

  minimum of $500.00 in damages for each violation. Plaintiff and the class are also entitled to an

  injunction against future calls.

           WHEREFORE, Plaintiff, Jaline Fenwick, on behalf of herself and the other members of

  the Class, prays for the following relief:

           a.    A declaration that Defendant’s practices described herein violate the Telephone

  Consumer Protection Act, 47 U.S.C. § 227;



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          b.      A declaration that Defendant’s violations of the Telephone Consumer Protection

  Act, 47 U.S.C. § 227, were willful and knowing;

          c.      An injunction prohibiting Defendant from using an automatic telephone dialing

  system to call and text message telephone numbers assigned to cellular telephones without the

  prior express consent of the called party;

          d.      An award of actual, statutory damages, and/or trebled statutory damages; and

          e.      Such further and other relief the Court deems reasonable and just.

                                             JURY DEMAND

           Plaintiff and Class Members hereby demand a trial by jury.

                              DOCUMENT PRESERVATION DEMAND

          Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

  databases or other itemization of telephone numbers associated with Defendants and the communication

  or transmittal of the text messages as alleged herein.

  Date: July 11, 2018

                                                                   Respectfully submitted,

                                                                   HIRALDO P.A.

                                                                   /s/ Manuel S. Hiraldo____________
                                                                   Manuel S. Hiraldo
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                                                                   Counsel for Plaintiff




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